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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7
 8    MARIA CHAVEZ, et al., on behalf
      of themselves and all others
 9    similarly situated,

10            Plaintiffs,                        NO. CV-01-5093-RHW

11            v.
12                                               JUDGMENT
      IBP, Inc., LASSO ACQUISITION
13    CORPORATION, and TYSON
      FOODS, INC., all Delaware
14    corporations,

15            Defendants.

16
17         This action came on for trial before the Court, the Honorable Robert H.
18 Whaley, United States District Judge, presiding; and the issues having been duly
19 tried and a decision having been duly rendered as reflected, inter alia, in the Final
20
   Findings of Fact and Conclusions of Law on May 16, 2005 (Ct. Rec.
21
   768)(“Findings”), and various rulings on damages issues on May 18, 2005, June
22
   28, 2005, and July 14, 2005 (Ct. Rec. 771, 791, and 817, respectively);
23
24        IT IS ORDERED AND ADJUDGED:
25         That the Plaintiffs, Maria Chavez et al. recover of the Defendants, Tyson
26 Fresh Meats, Inc. and Tyson Foods, Inc., the sum of $ 11,419,877, with interest
27
   thereon at the rate provided by 29 U.S.C.§ 1961, 3.59 %. This judgment is based
28

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 1
     on damages calculated through December 31, 2003, and is comprised of the
 2
     following:1
 3
                                           11/98 – 6/01       7/01 – 12/03          Totals
 4           MWA minimum wages                 1,303,800            694,407          1,998,207
             MWA overtime                      6,031,092            372,428          6,403,520
 5           FLSA overtime                        11,301            686,734            698,035
 6           Arbitration Credit                         0          -380,584           -380,584
             Rest Breaks                         946,828          1,156,626          2,103,454
 7           Double Shifts                                                             597,245
                                                                      Totals      $ 11,419,877
 8
     2 3
          The arbitration credit is based on the Court’s equity jurisdiction to assure that
 9
10    1
           Plaintiffs proved some MWA and FLSA damages that are not included in this
11 judgment because plaintiffs are not allowed duplicative recovery. See Findings
12 57:23. As stated by Plaintiffs, these judgment calculations include recovery for
13 each class member based on the higher of federal or state overtime damages. They
14 are calculated once for any particular week and avoid duplicative recovery.
15   2
          This figure includes three components for off-the-clock work. First, in weeks
16 with no overtime, it includes damages for all Plaintiffs who have a state-law claim,
17 and it is valued at the state minimum wage rate pursuant to the parties’ stipulation
18 dated May 31, 2005 at paragraph 2 (Ct. Rec. 774). Second, in weeks with
19 overtime, it includes non-overtime damages for state-law-only plaintiffs valued at
20
     the state minimum wage rate, pursuant to the Court’s order of June 28, 2005, at
21
     pp.6-7. Third, in weeks with overtime, it includes non-overtime damages for
22
     FLSA plaintiffs. Those FLSA plaintiffs are entitled to value these non-overtime
23
     damages at the hourly wage rate pursuant to the Court’s order of June 28, 2005, at
24
     pp.3-6. However, for purposes of convenience, the parties have agreed to include
25
     in this figure those hours valued at the state minimum wage rate. The difference
26
     between the state minimum wage rate and the hourly wage rate for these hours is
27
     $ 57,218 and is included in the “FLSA overtime” row below.
28   3
       Double shift damages include damages for time between shifts and rest breaks
     JUDGMENT * 2
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 1
     class members are not paid twice for the same meal break minutes in this litigation
 2
     and in the Henderson Arbitration Award, affirmed in IBP, Inc. v. Local 556
 3
 4 International Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers
 5 of America, Case No. 03-3512 (9th Cir. May 31, 2005) . The credit is awarded
 6 based on defendants’ representation that they will mail Arbitration Award checks
 7
   to the class members’ last known address within four weeks of entry of this
 8
   Judgment. Defendants shall also provide the Chavez Plaintiffs with an electronic
 9
   lists of unpresented checks, i.e., checks that have not been presented for payment
10
11 to Defendants’ bank, in November 2006 and at such time that they provide a list to
12 the State of Washington.
13
           The Court finds that Plaintiffs are entitled to their costs of action and
14
     reasonable attorneys’ fees and costs under applicable state and federal law.
15
16 Plaintiffs are directed to file a motion to establish these attorney fees within 4
17 weeks of entry of this judgment and to file a cost bill with the Clerk pursuant to
18 Fed.R.Civ.P. 54(d)(1).
19
     //
20
21 //
22 //
23
24 //
25
     (non-duplicative of other rest break damages set forth above) and are calculated in
26
     accordance with the Findings pp. 30-40 (docket 768) and the Order of July 14,
27
     2005, pp. 5-7 (docket 817). The $ 597,245 figure is from Exhibit 701 and includes
28
     FLSA and state law components, without duplicative recovery.
     JUDGMENT * 3
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 1
           IT IS SO ORDERED. The District Court Executive is directed to enter this
 2
     order and to provide copies to counsel.
 3
 4         DATED this 20th day of July 2005.
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 7                                       s/ ROBERT H. WHALEY
                                         United States District Judge
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     JUDGMENT * 4
